Case 1:04-cv-01275-.]DT-STA Document 13 Filed 07/15/05 Page 1 of 4 Page|D 13

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lN THE UNITED s'rArEs DISTRICT CoURr 0 EY\$/
FoR THE WESTERN DisrRiCr oF TENNESSEE"JUA ,5
EASTERN DI\/ISION l 537

 

ANTHONY G. CLARKE,
Plaintiff,
VS. NO. l~O4-lZ75-T-An

STATE OF TENNESSEE, et al.,

Defendants.

 

ORDER DENYING PLAINTIFF’S l\/IOTION TO ALTER OR Al\/IEND JUDGMENT

 

PlaintiffAnthony G. Clarke, who Was previously confined at the Hardin County Jail
(“HCJ”), brought this action pursuant to 28 U.S.C. § 1983 against Defendants State of
Tennessee, Phil Bredesen, Quentin White, Kevin Davis, Gary Austin, and Hardin County.
Plaintiff attempted to orchestrate a class action on behalf of other “prisoners” at the HCJ,
alleging that HCJ policies and procedures violate the constitutional rights of jail inmates.
Plaintiff listed the following as the major issues: healthcare, diet, exercise, discipline, court
access, inadequate grievance procedure, inference with legal mail, jail conditions, and poor
management On l\/lay 2, 2005 , the court dismissed the entire complaint for failure to state
a claim upon Which relief may be granted Further, the court also certified that PIaintiff`S

complaint Was not in good faith and could not be taken on appeal in forma pauperisl

 

' The court’s order stated that “any appeal in this matter is not taken in good faith, and
the plaintiff may proceed on appeal in forma pauperis.” Order Granting Motion to Proceed IFP;

Thls document entered on the docket sheet ln compliance

with ama ss and'¢r 19 (a) FacP on _DY__LLO§__ ®

Case 1:04-cv-01275-.]DT-STA Document 13 Filed 07/15/05 Page 2 of 4 Page|D 14

Judgment was entered against Plaintiff on May 9, 2005.

Plaintiff now files this letter requesting that this court reconsider or reactivate his
complaint due to a similar complaint having been filed by another plaintiff on behalf on all
inmates at the HCJ. To the extent that Plaintiff` s letter constitutes a motion to alter or amend
judgment under Fed. R. Civ. P. 59(e), his motion is DENIED.

The purpose of Rule 59(e) is to allow a district court to correct its own mistakes
White v. New Hampshire Det)t. of Emplovment Sec._ 455 U.S. 445, 450 (1982). lt “is not
intended to relitigate matters already decided by the Court but, rather, is designed to correct
manifest errors of fact or law which led to the entry of judgment.” Windsor v. A Federal
Executive Agency, 614 F. Supp. 1255, 1264 (M.D. Tenn. 1983), ajj"d, 767 F.Zd 923 (6“‘ Cir.
1985). The granting of a motion under Rule 59(e) is within the sound discretion of the
district court. McMahon v. Libbev-Owens-Ford Co., 870 F.Zd 1073, 1078 (6th Cir. 1989).
Pursuant to Rule 59(e), a court may alter or amend its judgment if there is: (1) a clear error
of law; (2) newly discovered evidence; (3) an intervening change in controlling law; or (4)
or to prevent manifest injustice See Gencorr)‘ Inc. v. American lnt’l Underwriters, 178
F.3d 804, 834 (6“‘ Cir. 1999).

In the present case, Plaintiff fails to argue that any of the above four situations are

applicable to his case. Plaintiff has set forth none of the requirements for an order to alter

 

Denying Motion for Class Certification; Denying Motion for lnjunctive Relief; Order of
Dismissal; Certifying Appeal Not Taken in Good Faith; Notice of Appellate Filing Fee,
at 8. This was a typographical error, and should have stated that Plaintiff could nor proceed on

appeal in forma pauperis

Case 1:04-cv-01275-.]DT-STA Document 13 Filed 07/15/05 Page 3 of 4 Page|D 15

or amend judgment pursuant to Rule 59(@). Consequently, his motion is DENIED.

lT IS SO ORDERED.

 

JA sD.'roDD

lTED STATES DISTRICT JUDGE

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DATE (/ /

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Notice of Distribution

This notice confirms a copy of the document docketed as number 13 in
case 1:04-CV-01275 was distributed by faX, mail, or direct printing on
July 18, 2005 to the parties listed.

 

 

Anthony Glen Clarke
P. O. BoX 24
Saltillo7 TN 38370

Honorable .l ames Todd
US DISTRICT COURT

